                                                                               Case 4:05-cr-00334-SBA           Document 135    Filed 05/04/06      Page 1 of 1



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                                                                         5                                  IN THE UNITED STATES DISTRICT COURT
                                                                         6                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    UNITED STATES OF AMERICA,                          No. CR 05-334 SBA
                                                                         9                    Plaintiff ,                        ORDER SETTING HEARING FOR
                                                                                                                                 DEFENDANT'S REQUEST OR MOTION
                                                                         10     v.                                               FOR NEW COUNSEL
                                                                         11
United States District Court




                                                                              STEVEN SHELTON, et al.,                            [Docket No. 124]
                               For the Northern District of California




                                                                         12                   Defendants.
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                                                                         14          Good cause appearing,

                                                                         15          IT IS HEREBY ORDERED THAT Defendant's Request or Motion for New Counsel is

                                                                         16   hereby set for hearing on May 16, 2006 at 11:00 a.m.
                                                                         17          IT IS SO ORDERED.
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                                                                              Dated: 5/4/06
                                                                         19                                                     SAUNDRA BROWN ARMSTRONG
                                                                                                                                United States District Judge
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